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     Los Angeles, California 90017
 4   Telephone: (213) 623-4234
     Email: donaldmreplc@yahoo.com
 5
 6   Attorney for Defendant
     HUNG CAO NGUYEN
 7
 8                                               UNITED STATES DISTRICT COURT
 9
                                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 )                      USDC CASE NO. 2:12-cr-0309-JAM
12                                             )
                       Plaintiff,              )                      STIPULATION TO MODIFY
13                                             )                      CONDITION OF RELEASE
           v.                                  )
14                                             )
     HUNG CAO NGUYEN,                          )
15
                                               )
16                     Defendants.             )
     __________________________________________)
17
18
               The Plaintiff, United States of America, by and through its counsel of record, Assistant United States
19
     Attorney, JASON HITT and the defendant, HUNG CAO NGUYEN, by and through his counsel of record,
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     DONALD M. RÉ, do hereby stipulate that:
21
22             1. Defendant’s Special Conditions of Release, condition 10 shall be amended to delete the

23   requirement that the defendant submit to drug or alcohol testing as directed by the Pretrial Services Officer.
24   ///
25
     ///
26
     ///
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28   ///

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 1             2. Michelle Ries, (213) 894-0026 defendant’s Pretrial Services Officer, has no objection to this
 2
     request.
 3
     IT IS SO STIPULATED.                                           Respectfully submitted,
 4
     Dated: September            25 , 2013                          BENJAMIN J. WAGNER
 5                                                                  United States Attorney
 6
 7
                                                                    By:     /s/ Jason Hitt
 8                                                                  JASON HITT
 9                                                                  Assistant United States Attorney
                                                                    Counsel for Plaintiff
10                                                                  United States of America

11
12
     Dated: September 25 , 2013                                     By:     /s/ Donald M. Ré
13                                                                  DONALD M. RÉ
                                                                    Counsel for Defendant
14                                                                  HUNG CAO NGUYEN
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16
     IT IS SO ORDERED.
17
     Dated: 9/30/2013                                                      /s/ John A. Mendez
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                                                                           JOHN A. MENDEZ
19                                                                         UNITED STATES DISTRICT COURT JUDGE

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